                 IN THE UNITED STATES DISTRICT COURT

          FOR THE MIDDLE DISTRICT OF NORTH CAROLINA


UNITED STATES OF AMERICA                :
                                        :
                 v.                     :       1:13CR458-1
                                        :
NORMAN SENEKA BOWERS                    :


                          MOTION TO CONTINUE

      NOW COMES the United States of America, by Sandra J. Hairston,

United States Attorney for the Middle District of North Carolina, through the

undersigned Assistant United States Attorney, and moves to continue the

Final Hearing regarding Revocation of Supervised Release for the above-

captioned case for a period of sixty (60) days. In support of this motion, the

government states as follows:

      1. The hearing is currently scheduled for the morning of May 12, 2022.

      2. On April 27, 2022, the undersigned was notified of new felony

         controlled-substance charges that had been brought against the

         defendant in Davidson County arising out of an incident in March

         2022.

      3. The undersigned intends to pursue a federal indictment against the

         defendant as a result of the March 2022 incident. It is anticipated

         that it will take some time for the investigative reports to be compiled,




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         and for all aspects of the investigation, to include forensic testing of

         any controlled substances, to be completed.

      4. The government has consulted with counsel for the defense, who does

         not object to this motion.

      Wherefore, the government requests that this Court continue the above-

captioned matter for a period of sixty (60) days.

      This, the 28th day of April, 2022.

                                      Respectfully submitted,

                                      SANDRA J. HAIRSTON
                                      United States Attorney


                                      /S/ TERRY M. MEINECKE
                                      Assistant United States Attorney
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                        CERTIFICATE OF SERVICE

      I hereby certify that on April 28, 2022, the foregoing was electronically

filed with the Clerk of the Court using the CM/ECF system, which will notify

the following user:

      Helen L. Parsonage, Esq.


                                    /S/ TERRY M. MEINECKE
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